              Case 20-40743               Doc 1           Filed 07/14/20 Entered 07/14/20 12:28:49                            Desc Main
                                                            Document     Page 1 of 15
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                        Massachusetts
 ____________________ District of _________________
                                        (State)
                          20-                                           11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



                                                   The Paper Store, LLC
 1.   Debtor’s name                           ______________________________________________________________________________________________________



                                                   The Paper Store Inc.
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   47        1892442
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business
                                              20 Main Street
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box
                                             Acton                            MA       01720
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                  Middlesex                                               principal place of business
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code



                                                       http://www.thepaperstore.com/
 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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              The Paper Store, LLC                                                                                     20-
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name


                                           X
 6.   Type of debtor                        Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________

                                           A. Check one:
 7.   Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           
                                           X None of the above


                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                4532
                                              ___ ___ ___ ___

 8.   Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                           X Chapter 11. Check all that apply:
                                           
      A debtor who is a “small business
      debtor” must check the first sub-                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                          affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                            11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or if
                                                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                               § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                            Chapter 12




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                Case 20-40743            Doc 1       Filed 07/14/20 Entered 07/14/20 12:28:49                                Desc Main
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                 The Paper Store, LLC                                                                                  20-
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name



       Were prior bankruptcy cases         X
 9.                                        No
       filed by or against the debtor
       within the last 8 years?            Yes.     District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a        X Yes.               TPS Holdings, LLC                                                Holding company
       business partner or an                       Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                                Massachusetts
                                                     District _____________________________________________ When                07/14/2020
                                                                                                                               __________________
       List all cases. If more than 1,                                                                                         MM / DD / YYYY
       attach a separate list.                       Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          
                                          X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        X No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                       Other _______________________________________________________________________________



                                                    Where is the property?_____________________________________________________________________
                                                                              Number          Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________         _______ ________________
                                                                              City                                            State ZIP Code


                                                    Is the property insured?

                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________

                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




               Statistical and administrative information




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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               The Paper Store, LLC                                                                                  20-
Debtor        _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   
                                         X Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                              
                                                                             X 1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                  X $10,000,001-$50 million
                                                                                                                         $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 
                                                                             X $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                              07/14/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                                /s/ Don Van der Wiel
                                             _____________________________________________
                                                                                                           Don Van der Wiel
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name
                                                         Chief Restructuring Officer
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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             The Paper Store, LLC                                                                                20-
Debtor        _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/ Paul J. Ricotta
                                            _____________________________________________            Date
                                                                                                                07/14/2020
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM     / DD / YYYY


                                             Paul J. Ricotta, Esq.
                                           _________________________________________________________________________________________________
                                           Printed name
                                               Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C
                                           _________________________________________________________________________________________________
                                           Firm name
                                              One Financial Center
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            Boston
                                           ____________________________________________________            MA
                                                                                                           ____________  02111
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code
                                             617-542-6000                                                  pjricotta@mintz.com
                                           ____________________________________                            __________________________________________
                                           Contact phone                                                   Email address


                                            552028                                                    MA
                                           ______________________________________________________ ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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Fill in this information to identify the case:

Debtor name: The Paper Store, LLC, et al.
United States Bankruptcy Court for the: District of Massachusetts
Case number (if known): 20-_____

                                                                                                                                ¨ Check if this is an
                                                                                                                                        amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 25 Largest
Unsecured Claims and Are Not Insiders, on a Consolidated Basis                                                                                    12/15

A list of creditors holding the 25 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 25
Largest unsecured claims.

    Name of creditor and           Name, telephone number, and       Nature of the      Indicate if   Amount of unsecured claim
    complete mailing address,      email address of creditor contact claim              claim is      If the claim is fully unsecured, fill in only unsecured
    including zip code                                               (for example,      contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,       unliqui-      total claim amount and deduction for value of
                                                                     bank loans,        dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional       disputed
                                                                     services, and                    Total claim, if    Deduction for      Unsecured
                                                                     government                       partially          value of           claim
                                                                     contracts)                       secured            collateral or
                                                                                                                         setoff

1   Hallmark Cards, Inc.           John McCabe                        Trade Payable       ¨C                                                $1,263,724.40
    P.O. Box 73642                 john.mccabe@hallmark.com
    Chicago IL 60673-7642                                                                 ¨U
                                                                                          ¨D
2   Vera Bradley Designs, Inc.     Vanessa McLemore                   Trade Payable       ¨C                                                $734,972.59
    12420 Stonebridge Road         VMcLemore@verabradley.com
    Roanoke IN 46783               Tel: (800) 823-8372                                    ¨U
                                                                                          ¨D
3   DEMDACO                        Jacque Myers                       Trade Payable       ¨C                                                $271,717.85
    P.O. Box 803314                jacque.myers@demdaco.com
    Kansas City MO 64180-3314                                                             ¨U
                                                                                          ¨D
4   Lifeguard Press                Kelly Crawford                     Trade Payable       ¨C                                                $248,489.46
    134 Beech Bend Rd.             Kelly@lifeguardpress.com
    Bowling Green KY 42101-2609    Tel: (800) 992-3006                                    ¨U
                                                                                          ¨D
5   Jolie                          Joseph Yi                          Trade Payable       ¨C                                                $226,527.00
    1100 S.San Pedro St # D3       joseph@jolieonline.com
    Los Angeles CA 90015           Tel: (213) 746-1700                                    ¨U
                                                                                          ¨D
6   Lotus And Luna                 Ara Derderian                      Trade Payable       ¨C                                                $219,525.70
    1552 Garnet Ave                ara@josephslock.com
    San Diego CA 92109             Tel: (805) 216-2441                                    ¨U
                                                                                          ¨D
7   Thread And Supply              Attn: Accounting
                                   accounting@threadandsupply.com
                                                                      Trade Payable       ¨C                                                $167,399.00
    5524 Alcoa Ave
    Vernon CA 90068                Tel: (213) 688-4977                                    ¨U
                                                                                          ¨D




Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 25 Largest Unsecured Claims                             Page 1
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                                                       Document     Page 7 of 15
Debtor    The Paper Store, LLC, et al.                                                                        Case number (if known) 20-_____

    Name of creditor and           Name, telephone number, and       Nature of the   Indicate if   Amount of unsecured claim
    complete mailing address,      email address of creditor contact claim           claim is      If the claim is fully unsecured, fill in only unsecured
    including zip code                                               (for example,   contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,    unliqui-      total claim amount and deduction for value of
                                                                     bank loans,     dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional    disputed
                                                                     services, and                 Total claim, if    Deduction for      Unsecured
                                                                     government                    partially          value of           claim
                                                                     contracts)                    secured            collateral or
                                                                                                                      setoff

8   Cheveux Corp                   Shannon Y. Kim                    Trade Payable     ¨C                                                $146,308.50
    1061 Slocum Ave                ykim@cheveuxcorp.com
    Ridgefield NJ 07657            Tel: (212) 685-6255                                 ¨U
                                                                                       ¨D
9   Lantern Enterprises            Cheryl                            Trade Payable     ¨C                                                $145,322.40
    1401 Cedar Street              cherylh@lanternbeauty.com
    Suite C                        Tel: (909) 390-0888                                 ¨U
    Ontario CA 91761
                                                                                       ¨D
10 Malden International Designs    Madeleine Pike                    Trade Payable     ¨C                                                $143,865.06
   19 Cowan Drive                  madeleine@malden.com
   Middleboro MA 02346             Tel: (800) 426-3578                                 ¨U
                                                                                       ¨D
11 W/S/M Hingham Properties        Winny Cen                         Rent              ¨C                                                $131,004.00
   LLC                             winny.cen@wsdevelopment.com
   33 Boylston Street                                                                  ¨U
   Suite 3000
   Chestnut Hill MA 02467
                                                                                       ¨D
12 Spartina 449 LLC                Patricia Pratt
                                   PatriciaPratt@spartina449.com
                                                                     Trade Payable     ¨C                                                $130,892.04
   10 Buck Island Road
   Bluffton SC 29910               Tel: (843) 681-8860                                 ¨U
                                                                                       ¨D
13 Pura Vida Bracelets             Vanessa McLemore                  Trade Payable     ¨C                                                $129,329.00
   12420 Stonebridge Road          VMcLemore@verabradley.com
   Roanoke IN 46783                Tel: (619) 889-5969                                 ¨U
                                                                                       ¨D
14 Natural Life Collections        Erika Slawson                     Trade Payable     ¨C                                                $120,885.82
   P.O. Box 116817                 ESlawson@naturallife.com
   Atlanta GA 30368-6817           Tel: (904) 241-0370                                 ¨U
                                                                                       ¨D
15 Shoppers World LLC              Dawn Szczesniak                   Rent              ¨C                                                $116,187.26
   P.O. Box 92472                  DSZCZESNIAK@DDR.com
   Dept #105209 21422 55233                                                            ¨U
   Cleveland OH 44193
                                                                                       ¨D
16 Alex And Ani                    Nicholas Perreault                Trade Payable     ¨C                                                $116,049.59
   10 Briggs Drive                 nperreault@alexandani.com
   East Greenwich RI 02818         Agomez@alexandani.com                               ¨U
                                   Tel: (401) 467-3952
                                                                                       ¨D
17 JER Realty LLC                  Steve Valeri                      Rent              ¨C                                                $113,366.56
   70 Hastings Street              svaleri@RocheBros.com
   Wellesley Hills MA 02481                                                            ¨U
                                                                                       ¨D
18 Life Is Good, Inc.              Rick Davis                        Trade Payable     ¨C                                                $111,727.42
   15 Hudson Park Drive            rdavis@lifeisgood.com
   Hudson NH 03051                 Tel: (800) 606-4604                                 ¨U
                                                                                       ¨D




Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 25 Largest Unsecured Claims                          Page 2
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Debtor    The Paper Store, LLC, et al.                                                                        Case number (if known) 20-_____

    Name of creditor and           Name, telephone number, and       Nature of the   Indicate if   Amount of unsecured claim
    complete mailing address,      email address of creditor contact claim           claim is      If the claim is fully unsecured, fill in only unsecured
    including zip code                                               (for example,   contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,    unliqui-      total claim amount and deduction for value of
                                                                     bank loans,     dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional    disputed
                                                                     services, and                 Total claim, if    Deduction for      Unsecured
                                                                     government                    partially          value of           claim
                                                                     contracts)                    secured            collateral or
                                                                                                                      setoff

19 Legacy Place Properties LLC     Robert Mooney
                                   Robert.Mooney@wsdevelopment.com
                                                                     Rent              ¨C                                                $107,116.00
   33 Boylston Street
   Suite 3000                                                                          ¨U
   Chestnut Hill MA 02467
                                                                                       ¨D
20 Buyer's Direct, Inc             Stephanie                         Trade Payable     ¨C                                                $106,590.00
   P.O. Box 818                    Tel: (252) 650-7000
   Elm City NC 27822                                                                   ¨U
                                                                                       ¨D
21 Google                                                            Trade Payable     ¨C                                                $104,732.49
   Dept. 33654
   PO Box 39000                                                                        ¨U
   San Francisco CA 94139
                                                                                       ¨D
22 Ireit Shrewsbury White City     Denise Olalde                     Rent              ¨C                                                $103,794.58
   LLC                             olalde@inlandgroup.com
   62903 Collection Center Drive                                                       ¨U
   Building 75043
   Chicago IL 60693-0629
                                                                                       ¨D
23 Gilli Clothing                  Seny Umali                        Trade Payable     ¨C                                                $101,376.50
   Dept La 24406                   seny@gilliclothing.com
   Pasadena CA 91185-4406          Tel: (213) 744-9808                                 ¨U
                                                                                       ¨D
24 Peter Pauper Press, Inc.        Maryana Didovych                  Trade Payable     ¨C                                                $99,310.41
   202 Mamaroneck Avenue           MDidovych@peterpauper.com
   White Plains NY 10601           Tel: (800) 833-2311                                 ¨U
                                                                                       ¨D
25 Godiva Chocolatier, Inc.
                                    Janet Schmehl
                                                                     Trade Payable     ¨C                                                $99,186.28
   P.O. BOX 74008044
   Chicago IL 60674-8044            janet.schmehl@godiva.com                           ¨U
                                                                                       ¨D




Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 25 Largest Unsecured Claims                           Page 3
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Fill in this information to identify the case and this filing:
Debtor name: The Paper Store, LLC, et al.

United States Bankruptcy Court for the: District of Massachusetts

Case number (if known): 20-_____



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
      another individual serving as a representative of the debtor in this case.
      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      Schedule H: Codebtors (Official Form 206H)
      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ¨Amended Schedule ____
      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 25 Largest Unsecured Claims and Are Not Insiders, on a
         Consolidated Basis (Official Form 204)
      ¨Other document that requires a declaration _______________________________________________________________________

      I declare under penalty of perjury that the foregoing is true and correct.



                        07/14/2020
       Executed on
                         MM/DD/YYYY
                                                                  û      /s/ Don Van der Wiel
                                                                      ______________________________________________________________
                                                                      Signature of individual signing on behalf of debtor

                                                                         Don Van der Wiel
                                                                      ___________________________________________
                                                                      Printed name

                                                                               Chief Restructuring Officer
                                                                      ___________________________________________
                                                                      Position or relationship to debtor




Official Form 202                     Declaration Under Penalty of Perjury for Non-Individual Debtors                                    Page 1 of 1
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     Case 20-40743        Doc 1       Filed 07/14/20 Entered 07/14/20 12:28:49              Desc Main
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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MASSACHUSETTS
                                   (CENTRAL DIVISION)

------------------------------------------------------------x
                                                            :
In re                                                       :         Chapter 11
                                                            :
THE PAPER STORE, LLC, et al.,                               :         Case No. 20-_______ (    )
                                                            :
                                     Debtors.1              :         (Joint Administration Requested)
                                                            :
------------------------------------------------------------x

                             CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a) and 7007.1 of the Federal Rules of Bankruptcy Procedure, The

Paper Store, LLC (the “Debtor”) certifies that the Debtor is a Massachusetts limited liability

company. The Debtor further certifies that the following entities own, directly or indirectly, ten

percent (10%) or more of the Debtor’s equity interests:

    Member Name                                      Percentage Ownership Interest
    TPS Holdings, LLC                                100%


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION
                       OR PARTNERSHIP

         I, Donald Van der Wiel, Chief Restructuring Officer of the Debtor, declare under penalty

of perjury that I have read the foregoing Corporate Ownership Statement and that it is true and

correct to the best of my information and belief.

Date: July 14, 2020                                             /s/ Donald Van der Wiel________________
                                                                Donald Van der Wiel
                                                                Chief Restructuring Officer



1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are The Paper Store, LLC (2442) and TPS Holdings, LLC (9193). The Debtors’
         corporate headquarters and service address is 20 Main Street, Acton, MA 01720.
      Case 20-40743        Doc 1       Filed 07/14/20 Entered 07/14/20 12:28:49              Desc Main
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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MASSACHUSETTS
                                    (CENTRAL DIVISION)

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                                                             :
 In re                                                       :         Chapter 11
                                                             :
 THE PAPER STORE, LLC, et al.,                               :         Case No. 20-_______ (    )
                                                             :
                                      Debtors.1              :         (Joint Administration Requested)
                                                             :
 ------------------------------------------------------------x

                               LIST OF EQUITY SECURITY HOLDERS

          Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, The Paper

 Store, LLC (the “Debtor”) hereby files the following list of the Debtor’s equity security holders:

                                                                               Percentage Ownership
     Member Name and Address                   Ownership Interest
                                                                                      Interest
     TPS Holdings, LLC
     20 Main Street                            Membership Interests                     100%
     Acton, MA 01720


 DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION
                        OR PARTNERSHIP

          I, Donald Van der Wiel, Chief Restructuring Officer of the Debtor, declare under penalty

 of perjury that I have read the foregoing List of Equity Security Holders and that it is true and

 correct to the best of my information and belief.

 Date: July 14, 2020                                             /s/ Donald Van der Wiel________________
                                                                 Donald Van der Wiel
                                                                 Chief Restructuring Officer




 1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
          identification number, are The Paper Store, LLC (2442) and TPS Holdings, LLC (9193). The Debtors’
          corporate headquarters and service address is 20 Main Street, Acton, MA 01720.



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